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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                      CASE NO: 8:03-cr-184-T-30EAJ

 COURTNEY ALLEN
 ________________________/

                                         ORDER

       The United States Sentencing Commission has promulgated Amendment 706

 lowering the base offense level for cocaine base (crack cocaine) offenses in many cases for

 eligible defendants sentenced on or after November 1, 2007. The Commission later decided

 this Amendment should be applied retroactively to defendants sentenced before November

 1, 2007. The Defendant in this case, having been sentenced prior to November 1, 2007, filed

 a motion pro se seeking a sentence reduction [Dkt. 522 ].

       The Defendant pled guilty to a one count superseding indictment alleging Conspiracy

 to Possess With the Intent to Distribute Five (5) Kilograms or More of Cocaine and 50

 Grams or More of Cocaine Base in violation of 21 U.S.C. § 846). The Court determined that

 the Defendant’s total offense level to be a 23 with a criminal history category of VI,

 providing for a guideline imprisonment range of 92 - 115 months. However, the mandatory

 minimum for this offense is 10 years, therefore, the guideline range is 120 months. The

 defendant was sentenced to the statutory mandatory minimum sentence of one hundred and

 twenty (120) months imprisonment.       As the Court has sentenced the defendant to the
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 shortest term of imprisonment permitted by statute, the defendant is considered ineligible for

 relief under the Amendment. Therefore, a reduction in the Defendant’s term of imprisonment

 is not authorized under 18 U.S.C. § 3582(c) and is not consistent with USSG §1B1.10.

        IT IS therefore ORDERED and ADJUDGED that the Defendant’s motion for a

 sentence reduction [Dkt. 522] is DENIED.

        DONE and ORDERED in Tampa, Florida on July 11, 2008.




 Copies to:
 Counsel of Record
 Defendant:     Courtney Allen, #41195-018
                Coleman Low FCI
                P.O. Box 1031
                Coleman, FL 33521
 U.S. Probation
 Bureau of Prisons




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